Case 2:21-cv-04920-WLH-ADS   Document 274-3   Filed 02/09/23   Page 1 of 16 Page
                                  ID #:6830




                 Exhibit 2
Case 2:21-cv-04920-WLH-ADS             Document 274-3       Filed 02/09/23    Page 2 of 16 Page
                                            ID #:6831



   1
     Michael J. Bowe                                        David M. Stein (#198256)
   2 (admitted pro hac vice)                                dstein@brownrudnick.com
     mbowe@brownrudnick.com                                 BROWN RUDNICK LLP
   3 Lauren Tabaksblat                                      2211 Michelson Drive, 7th Floor
     (admitted pro hac vice)                                Irvine, California 92612
   4 ltabaksblat@brownrudnick.com                           Telephone:      (949) 752-7100
   5 BROWN RUDNICK LLP                                      Facsimile:      (949) 252-1514
     7 Times Square
   6 New York, NY 10036
     Telephone:      (212) 209-4800
   7 Facsimile:      (212) 209-4801
   8 Attorneys for Plaintiff

   9                                  UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
  10                                       SOUTHERN DIVISION
  11 SERENA FLEITES,                                           CASE NO. 2:21-cv-4920-CJC-ADS
  12                    Plaintiff,                             HON. CORMAC J. CARNEY
  13              v.                                           PLAINTIFF’S FIRST REQUEST
                                                               FOR PRODUCTION OF
  14 MINDGEEK S.A.R.L., a foreign entity; MG                   DOCUMENTS TO DEFENDANT
     FREESITES, LTD.; MINDGEEK USA                             FERAS ANTOON
  15 INCORPORATED, a Delaware corporation;
     MG PREMIUM LTD, a foreign entity; MG
  16 GLOBAL ENTERTAINMENT INC., a
     Delaware corporation; 9219-1568 QUEBEC,
  17 INC., a foreign entity; BERND
     BERGMAIR, a foreign individual; FERAS
  18 ANTOON, a foreign individual; DAVID
     TASSILLO, a foreign individual; COREY
  19 URMAN, a foreign individual; VISA INC.,
     a Delaware corporation; COLBECK
  20 CAPITAL DOES 1-5; and BERGMAIR
     DOES 1-5,
  21

  22                   Defendants.
  23

  24
       PROPOUNDING PARTY:                PLAINTIFF SERENA FLEITES
  25
       RESPONDING PARTY:                 DEFENDANT FERAS ANTOON
  26
       SET NO.:                          ONE
  27

  28

                                                        1
Case 2:21-cv-04920-WLH-ADS           Document 274-3          Filed 02/09/23     Page 3 of 16 Page
                                          ID #:6832



   1          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff Serena

   2 Fleites (“Plaintiff”) requests that Defendant Feras Antoon (“Defendant”) produce, in accordance

   3 with the following definitions and instructions, documents and other tangible things requested in

   4 the following Requests for Production of Documents, Set No. 1 (the “Requests”), for inspection

   5 and copying, within thirty (30) days after service, at the law office of Brown Rudnick LLP, 2211

   6 Michelson Drive, Seventh Floor, Irvine, California 92612, or such other place as agreed upon by

   7 counsel. The failure to fully and accurately answer these requests may result in sanctions pursuant

   8 to Rule 37 of the Federal Rules of Civil Procedure.

   9                                              DEFINITIONS

  10          1.      “Action” means the lawsuit captioned Fleites v. MindGeek S.A.R.L. et al, 2:21-cv-
  11 4920-CJC-ADS.

  12          2.      “Amended Complaint” means the Plaintiff’s First Amended Complaint filed March
  13 21, 2022 in this Action at Docket No. 124-3.

  14          3.      “You” or “Your” refers to Defendant Feras Antoon.
  15          4.      “MindGeek” “MindGeek Entity” or “MindGeek Related Entities” refers to the
  16 hundreds of companies that are owned, directly or indirectly, and/or affiliated with MindGeek

  17 S.A.R.L., including the hundreds of tubesites owned and operated by MindGeek, and the hundreds

  18 of companies that were created and dissolved during the period relevant to the Amended

  19 Complaint, and includes each of those entities’ current or former partners, directors, shareholders,

  20 employees, employers, officers, agents, principals, officials, representatives, associates,

  21 consultants, attorneys, advisors, accountants, aliases, and all persons and entities acting or

  22 purporting to act on the entities’ behalf.

  23          5.      “Defendants” means the following parties/entities and each of their current or
  24 former subsidiaries, affiliates, parents, predecessors and successors, divisions, departments, and

  25 operating units, and includes, without limitation, each of their current or former partners, directors,

  26 shareholders, employees, employers, officers, agents, principals, officials, representatives,

  27 associates, consultants, attorneys, advisors, accountants, aliases, and all persons and entities acting

  28 or purporting to act on their behalf:

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                         2
Case 2:21-cv-04920-WLH-ADS           Document 274-3        Filed 02/09/23     Page 4 of 16 Page
                                          ID #:6833



   1                 a. MindGeek S.A.R.L
                     b. Mindgeek Freesites LTD
   2                 c. Mindgeek USA Incorporated
                     d. MG Premium LTD
   3
                     e. MG Global Entertainment
   4                 f. 9219-1568 Quebec Inc.
                     g. Bernd Bergmair
   5                 h. Feras Antoon
                     i. David Tassillo
   6                 j. Corey Urman
                     k. Visa Inc.
   7
                     l. Colbeck Capital Does 1-5
   8                 m. Bermair Does 1-5.

   9          6.     “Individual Defendants” means the following parties in this action:
  10                 a.   Bernd Bergmair;
                     b.   Feras Antoon;
  11                 c.   David Tassillo; and/or
  12                 d.   Corey Urman.

  13          7.     “MindGeek Tubesites” refers to the over 100 pornographic websites and brands

  14 owed by the MindGeek Entities, including but not limited to Pornhub, RedTube, Tube8, YouPorn,

  15 PornIQ, gaytube, Thumbzilla, Peeperz, PornMD, Xtube, Brazzers, Babes.com, Reality Kings,

  16 Digital Playground, Twistys, Men.com, Mofos, MyDirtyHobby, SexTube, and Webcams.

  17          8.     “Any” or “all” shall mean any and all, and shall serve to bring within the scope of

  18 the Requests all responses that might otherwise be construed to be outside of their scope.

  19          9.     “Document” is synonymous in meaning and equal in scope to the usage of the term

  20 “documents or electronically stored information” in Rule 34(a) of the Federal Rules of Civil

  21 Procedure, and includes any written, recorded or graphic matter of any nature whatsoever,

  22 regardless of how recorded, and whether in original or copy, and any related communication

  23          10.    “Communication” shall mean and refer to any mode of conveying, distributing,

  24 disclosing, publishing, transferring and exchanging meaning or information, whether orally or by

  25 document, or whether by in-person conversations, telephone, mail, facsimile, personal delivery,

  26 overnight delivery, video recording, text or other electronic message, including ICQ, electronic

  27 mail or computer generated posting or any other display on the internet, or otherwise. The term

  28 shall include notes, memoranda, or any other document memorializing, conveying, or referring to

                          PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                       3
Case 2:21-cv-04920-WLH-ADS           Document 274-3         Filed 02/09/23     Page 5 of 16 Page
                                          ID #:6834



   1 the information Posts and comments to any social media accounts such as Facebook, Twitter,

   2 YouTube, LinkedIn, Tumblr, Instagram, Pinterest, and Snapchat, and include comments to online

   3 materials posted to the MindGeek Tubesites. These terms are further intended to include, without

   4 limitation, any summaries, reviews, reports, notes, logs, records, journals, minutes, or outlines

   5 concerning or memorializing the transmittal of information, opinion, words, or data.

   6          11.    “Employee” includes, without limitation, current or former partners, directors,

   7 shareholders, employees, officers, agents, officials, representatives, associates, consultants,

   8 attorneys, advisors, accountants, aliases, and all persons and entities acting or purporting to act on

   9 the employer’s behalf.

  10          12.    “Person” means any natural person, corporation, partnership, firm, association or

  11 any business, legal or governmental agency.

  12          13.    “Parent” means any person or entity which owns shares of stock or other ownership

  13 interests in a subordinate entity, having ordinary voting power to elect a majority of the board of

  14 directors or other managers of such subordinate entity are at the time owned, or the person which

  15 manages or otherwise controls, directly or indirectly, such subordinate entity.

  16          14.    “Affiliate” or “Affiliates” means a subsidiary corporation, sister corporation,

  17 subsidiary limited liability company, sister limited liability company, or any other form of

  18 business entity with an overlap of ownership, board of directors, managers, or executives.

  19          15.    The term “including” means including without limitation.

  20          16.    “CSAM” refers to Child Sexual Abuse Material and includes child pornography

  21 and any visual depiction of sexually explicit conduct involving a minor (a person less than 18

  22 years old) or the sexual abuse and exploitation of a child or children.

  23          17.    “NCMEC” refers to the National Center for Missing and Exploited Children.

  24          18.    As used herein, the “Relevant Time Period” covered by the Interrogatories is from

  25 June 1, 2013 through the present.

  26          19.    Anything not defined herein specifically shall have the definition given in the

  27 Amended Complaint.

  28

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                        4
Case 2:21-cv-04920-WLH-ADS            Document 274-3          Filed 02/09/23    Page 6 of 16 Page
                                           ID #:6835



   1                                            INSTRUCTIONS

   2          1.      These requests should be construed in the broadest possible manner consistent with

   3 the Federal Rules of Civil Procedure and the Local Civil Rules.

   4          2.      The use of a verb in any tense shall be construed as the use of the verb in all other

   5 tenses, as necessary, to bring within the scope of this document request all documents and

   6 responses which might otherwise be considered beyond the scope.

   7          3.      The use of capital letters, lower case letters or quotation marks in this document

   8 request shall not be construed to limit the scope of any specific request contained herein.

   9          4.      The term “including” means including without limitation.

  10          5.      The connectives “and” and “or” shall be construed either disjunctively or

  11 conjunctively as necessary to bring within the scope of the discovery request all responses that

  12 might otherwise be construed to be outside its scope.

  13          6.      The use of the singular form of any word includes the plural and vice versa.

  14          7.      In responding to the Requests, furnish all responsive documents that are available

  15 to you, including documents in the possession of your agents, advisors, attorneys, contractors,

  16 representatives, partners, representatives, and anyone else acting on your behalf or otherwise

  17 subject to your control.

  18          8.      In responding to the Requests, make a diligent search of your records, electronic

  19 files and of any other papers and materials in your possession or available to your representatives.

  20          9.      Documents are to be produced in full and unexpurgated form without abbreviation

  21 of redaction. In the event that you are able to provide only part(s) of the document(s) called for in

  22 any particular Request for Production, provide all document(s) that You are able to provide and

  23 state the reason, if any, for the inability to provide the remainder.

  24          10.     If you do not have within your possession, custody or control any document(s)

  25 responsive to a particular Request for Production, your response to that Request should so state.

  26          11.     If any document requested herein has been lost, deleted, discarded or destroyed, it

  27 shall be identified and described as completely as possible, including the following information:

  28 content, author, recipient, sender copied recipient (indicated or blind), date prepared or received,

                          PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                          5
Case 2:21-cv-04920-WLH-ADS            Document 274-3         Filed 02/09/23      Page 7 of 16 Page
                                           ID #:6836



   1 date of disposal, reasons for disposal, personal authorizing the disposal, person disposing of the

   2 document and contents of the document.

   3          12.     All documents shall be produced in the order in which they are kept in the usual

   4 course of business, and shall be produced in their original file folders, binders, cover or containers,

   5 or facsimiles thereof. In addition, all documents shall be produced, organized, and labeled to

   6 correspond to the individual Requests for Production.

   7          13.     Documents constituting Electronically Stored Information (ESI) are to be provided

   8 in Concordance Default format with associated default delimiters, and are to include bates-labeled

   9 TIFF images, all associated metadata, and native files named after the bates number of the

  10 corresponding TIFF image.

  11          14.     Hard copy documents (non-ESI) are to be produced in Concordance Default format

  12 with associated default delimiters, and are to include bates-labeled TIFF images and all associated

  13 metadata.

  14          15.     To the extent that you refuse to produce any document requested on the ground that

  15 the document is protected from discovery by the work product doctrine, the attorney-client

  16 privilege, or any other privilege or doctrine, provide a log identifying the document by stating: (1)

  17 the date on which the document was prepared, the date appearing on the document, if different, and

  18 the date on which it was transmitted; (2) the name(s) of the sender(s) and author(s) of the

  19 document, including all recipients, “cc” recipients and “bcc” recipients; (3) the number of pages

  20 withheld; (4) a description sufficient to identify the document without revealing the information for

  21 which the privilege is claimed, including the general subject matter and character of the document

  22 (e.g., letter, memorandum, notes); and (5) the statute, rule or decision which is claimed to give rise

  23 to the privilege or any other reason for withholding the document, in accordance with Rule

  24 26(b)(5)(A) and any stipulations between the parties.

  25          16.     If only a portion of a responsive document is privileged against disclosure, you

  26 must produce the responsive non-privileged portion of the document in redacted form, provided

  27 that the redacted material is identified and the basis for the claim of privilege stated as provided in

  28 the instruction above.

                          PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                         6
Case 2:21-cv-04920-WLH-ADS            Document 274-3            Filed 02/09/23   Page 8 of 16 Page
                                           ID #:6837



   1          17.     Each and every non-identical duplicate of a document within the scope of any

   2 request, whether different from the original because of stamps, indications of recipient, handwritten

   3 notes, marks, comments or attachments to different documents, or for any other reason, is a

   4 separate document to be produced in response hereto.

   5          18.     The Requests are continuing in nature and require that you promptly produce

   6 additional responsive documents or information whenever they are acquired, discovered or come

   7 into existence after the date of the initial production.

   8                            REQUESTS FOR PRODUCTION OF DOCUMENTS

   9 REQUEST NO. 1

  10          All documents and communications concerning Serena Fleites.
  11 REQUEST NO. 2

  12          All documents and communications concerning or relating to Your affiliation with,
  13 employment by, or ownership of MindGeek, any MindGeek Related Entity, or any MindGeek

  14 Tubesites.

  15 REQUEST NO. 3

  16          All documents and communications concerning or reflecting any income, revenue, or other
  17 monies You have received from MindGeek, any MindGeek Related Entity, or any MindGeek

  18 Tubesites.

  19 REQUEST NO. 4

  20          All documents and communications between and among You and any of the Defendants
  21 related to this Action.

  22 REQUEST NO. 5

  23          All documents and communications between and among You and any of the Defendants
  24 related to the presence of any CSAM on any MindGeek site, any MindGeek Related Entity site, or

  25 any MindGeek Tubesites.

  26 REQUEST NO. 6

  27          All documents describing, depicting, explaining, or relating to the past or present corporate
  28 and ownership organization and structure of MindGeek, the identity of all affiliated or related

                          PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                          7
Case 2:21-cv-04920-WLH-ADS           Document 274-3          Filed 02/09/23     Page 9 of 16 Page
                                          ID #:6838



   1 party entities, corporations, limited partnerships, limited liability companies, partnerships, or other

   2 entities; the nature of the direct, indirect or beneficial ownership or other interests held by any

   3 such person, entity, or organization; and the owners, members, directors, managers, lenders,

   4 secured parties, general or limited partners, executives, and outside law firms and accountants of

   5 such entities.

   6 REQUEST NO. 7

   7          All documents related to any past or present, direct, indirect, or beneficial ownership,

   8 lending, or secured or other economic interest in, or business relationship with, MindGeek or any

   9 MindGeek Related Entity by You or any of the other Individual Defendants, Colbeck Capital, JP

  10 Morgan Chase, Fortress Investment Group, Cornell, Bjorn Daniel Sudan, or Shaileshkumar P. Jain

  11 (a/k/a “Sam” Jain) or individuals or entities introduced or represented by such persons or entities.

  12 REQUEST NO. 8

  13          All documents related to any past or present, direct, indirect or beneficial ownership,
  14 licensing, or secured or other economic interest of, or in, any intellectual property owned or

  15 licensed, directly or indirectly by You related to MindGeek, any MindGeek Related Entity, or any

  16 MindGeek Tubesites.

  17 REQUEST NO. 9

  18          All documents describing, depicting, explaining, or relating to MindGeek’s past or present
  19 internal organizational structure, offices, departments, executives, and personnel.

  20 REQUEST NO. 10

  21          All documents identifying all MindGeek or outside personnel or vendors with any current
  22 or past responsibility for moderating, monitoring, formatting, optimizing, filtering, reviewing,

  23 screening, or removing content on any MindGeek platform or website, the entities they were

  24 retained and employed by, and the entities that they were compensated by, whether salary, bonus

  25 or otherwise.

  26 REQUEST NO. 11

  27          All documents and communications relating to Your or MindGeek’s past or present
  28 jurisdictional contacts with the United States or California, including but not limited to, offices,

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                         8
Case 2:21-cv-04920-WLH-ADS           Document 274-3          Filed 02/09/23     Page 10 of 16 Page
                                          ID #:6839



   1 residences, and real estate located in California or any jurisdiction in the United States.

   2 REQUEST NO. 12

   3          All documents and communications relating to Your or MindGeek’s personnel or vendors

   4 employed, retained, paid, located in, or otherwise providing services in California or any

   5 jurisdiction in the United States; political activities in California or any jurisdiction in the United

   6 States, including through direct or indirect participation in, or financial support for, lobbying,

   7 trade, or industry, or activist organizations; trips to California or any jurisdiction in the United

   8 States; servers; revenues, profits, expenses, taxes earned or paid in or from California or any

   9 jurisdiction in the United States; and communications or business relationships with, to, from, or

  10 in California or any jurisdiction in the United States.

  11 REQUEST NO. 13

  12          All documents reflecting annual revenues, profits and losses, and expenses for each
  13 MindGeek Related Entity or MindGeek Tubesite or the entity that owns or controls that platform

  14 or website.

  15 REQUEST NO. 14

  16          All documents concerning, reflecting, describing, or relating to, or comprising of
  17 presentations to or from, proposed transactions from, or data and information provided or made

  18 available to, any actual or potential investors, lenders, secured parties, licensees, purchasers, or

  19 others concerning MindGeek or any MindGeek Related Entity.

  20 REQUEST NO. 15

  21          All transaction documents, term sheets, and communications concerning any actual or
  22 proposed transactions involving the ownership of, loans to, secured interest in, or intellectual

  23 property or other rights related to MindGeek.

  24 REQUEST NO. 16

  25          For each MindGeek entity, affiliate, subsidiary, or related entity, all financial, ledgers;
  26 shareholder, investor, director, member, manager, or partner lists; board presentation materials,

  27 board minutes, and calendars of board meetings or conferences; records reflecting capitalization,

  28 revenues, profits, tax payments, distributions or dividends, and distribution or dividend recipients

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                         9
Case 2:21-cv-04920-WLH-ADS           Document 274-3          Filed 02/09/23    Page 11 of 16 Page
                                          ID #:6840



   1 for such entities; articles of incorporation or formation, by-laws, shareholder and lender

   2 agreements; profit and loss, balance sheet, tax, payroll, and expense records; and records reflecting

   3 the sources of all payments made to or on behalf of the entity, affiliate, subsidiary, or related

   4 entity.

   5 REQUEST NO. 17

   6           For each MindGeek Entity, affiliate, subsidiary, or Related Entity, all quarterly and annual

   7 tax filings, audits, financials, and statutory reporting, including work papers and reports of its

   8 outside accountants.

   9 REQUEST NO. 18

  10           Your monthly, quarterly, and annual bank and investment statements.
  11 REQUEST NO. 19

  12           All documents and communications related to any corporate reorganization by MindGeek
  13 and the purposes behind that reorganization.

  14 REQUEST NO. 20

  15           All documents or communications identifying the various subsidiaries comprising the
  16 business of MindGeek.

  17 REQUEST NO. 21

  18           All documents identifying the directors, managers, members, executives, and personnel of
  19 the various subsidiaries comprising the business of MindGeek.

  20 REQUEST NO. 22

  21           All documents identifying the companies organized and existing under the laws of
  22 multiple jurisdictions where MindGeek has assets, operates businesses, or provides services and

  23 the nature of those assets, businesses, or services.

  24 REQUEST NO. 23

  25           All documents identifying the entities providing services to MG Freesites LTD.
  26 REQUEST NO. 24

  27           All documents identifying the bank accounts, services, payments, written agreements, third
  28 parties providing transfer pricing studies, pricing studies and price ranges, accounting, and tax

                          PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                        10
Case 2:21-cv-04920-WLH-ADS           Document 274-3          Filed 02/09/23    Page 12 of 16 Page
                                          ID #:6841



   1 determinations.

   2 REQUEST NO. 25

   3          All audited financial statements and all related communications with auditors regarding the

   4 same.

   5 REQUEST NO. 26

   6          All documents identifying the distinct legal entities of MindGeek and any of the MindGeek

   7 Related Entities.

   8 REQUEST NO. 27

   9          All documents related to the support services MG Global Entertainment has provided.

  10 REQUEST NO. 28

  11          All documents related to the services provided by 9219-1568 Quebec Inc.
  12 REQUEST NO. 29

  13          All documents relating to MindGeek related payments, investments, or loans to, in, or for
  14 any personal affairs, expenses, entities, businesses, real estate, or investments related to You or

  15 any of the Individual Defendants, or any of their family members or entities in which either You

  16 or a family member holds a direct or indirect interest.

  17 REQUEST NO. 30

  18          All documents related to the purported resignation of You and David Tassillo as CEO and
  19 COO of MindGeek respectively, including, but not limited to, any documents related to any

  20 investigation, allegations, or reports of their using Mindgeek assets and monies for their personal

  21 affairs, investments, or businesses.

  22 REQUEST NO. 31

  23          All documents or communications depicting, describing, or explaining MindGeek’s IT
  24 infrastructure and networks, data storage, server and data centers and providers of the same,

  25 internal and external communications systems including ICQ, and ISP and Cloud storage services

  26 and providers, including the locations and identities of any outside vendors associated with the

  27 same.

  28 REQUEST NO. 32

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                        11
Case 2:21-cv-04920-WLH-ADS           Document 274-3         Filed 02/09/23   Page 13 of 16 Page
                                          ID #:6842



   1          All contact lists maintained by You or any of the Individual Defendants as well as

   2 documents sufficient to show all cell and other phone numbers and messaging services used by

   3 each individual.

   4 REQUEST NO. 33

   5          All documents or communications identifying, depicting, explaining, or describing any

   6 programs or technology MindGeek acquired, employed, used, or considered to moderate, monitor,

   7 format, optimize, filter, review, screen, or remove content on its websites, including the dates such

   8 technology was acquired, employed, or considered.

   9 REQUEST NO. 34

  10          All documents or communications related to MindGeek’s policies, manuals, practices,
  11 processes, and rules for moderating, monitoring, formatting, optimizing, filtering, reviewing,

  12 screening, or removing content on its platforms and websites, including all prohibited words,

  13 phrases, categories, and “genres” and all processes and reports concerning search engine

  14 optimization of such content.

  15 REQUEST NO. 35

  16          All documents and communications describing MindGeek’s policies and procedures for
  17 preserving hard copy and electronic documents and content.

  18 REQUEST NO. 36

  19          All documents and communications reflecting rosters, schedules, training materials,
  20 performance reviews and metrics for personnel or outside contractors or vendors involved in

  21 moderating, formatting, optimization, filtering, screening, or removing content from MindGeek’s

  22 platforms and websites.

  23 REQUEST NO. 37

  24          All documents and communications identifying all content categories, “genres,” or similar
  25 descriptors MindGeek has included, recommended, or offered to users of its platforms and

  26 websites.

  27 REQUEST NO. 38

  28          All documents consisting of, or reflecting, reports, communications, data, or actions

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                       12
Case 2:21-cv-04920-WLH-ADS          Document 274-3          Filed 02/09/23   Page 14 of 16 Page
                                         ID #:6843



   1 related to content reviewed or screened by any technology, programs, or internal or external

   2 personnel concerning actual or suspected CSAM, nonconsensual, prohibited, or illegal content.

   3 REQUEST NO. 39

   4          All documents concerning complaints, reports, communications, and requests concerning

   5 CSAM, non-consensual, prohibited, or illegal content on any MindGeek platform or website,

   6 including all documents and communications with or concerning any associated investigation,

   7 actions, and internal and external communications concerning the same.

   8 REQUEST NO. 40

   9          All documents and communications reflecting processes, standards, and technologies that

  10 MindGeek employed to prevent the presence of child pornography, CSAM, non-consensual,

  11 prohibited, or illegal content on its platforms or websites; the dates on which such processes,

  12 standards, and technologies were employed; and the people most knowledgeable about each.

  13 REQUEST NO. 41

  14          All documents and communications reflecting policies, practices, rules, guidelines,
  15 programs, or plans concerning the moderation, monitoring, review, formatting, analysis or search

  16 and social media use and optimization of content on MindGeek platforms and websites, including,

  17 but not limited to, with respect to content uploaded with associated languages other than English.

  18 REQUEST NO. 42

  19          All documents and communications concerning MindGeek’s policies, practices, and
  20 compliance related to 18 U.S.C. § 2257.

  21 REQUEST NO. 43

  22          All materials and information provided to Kaplan, Hecker, & Fink in connection with its
  23 review of MindGeek’s practices as reported in the June 20, 2022 New Yorker magazine.

  24 REQUEST NO. 44

  25          All communications between You and Kaplan, Hecker, & Fink in connection with its
  26 review of MindGeek’s practices as reported in the June 20, 2022 New Yorker magazine.

  27 REQUEST NO. 45

  28          The report and recommendations provided to MindGeek by Kaplan, Hecker & Fink.

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                       13
Case 2:21-cv-04920-WLH-ADS         Document 274-3          Filed 02/09/23   Page 15 of 16 Page
                                        ID #:6844



   1 REQUEST NO. 46

   2          Any internal or external expert or consultant reports provided to MindGeek concerning its

   3 technology, processes, policies, and practices concerning CSAM, nonconsensual, prohibited, or

   4 illegal content.

   5 REQUEST NO. 47

   6          All documents and communications related to the implementation of the recommendations

   7 provided to MindGeek by Kaplan, Hecker & Fink or any internal or external expert or consultant

   8 concerning CSAM, nonconsensual, prohibited, or illegal content.

   9 REQUEST NO. 48

  10          The list of content MindGeek provided to NCMEC as reported in the June 20, 2022 New
  11 Yorker magazine, and the associated dates of upload; URL’s; IP addresses; uploader identifiers;

  12 associates tags, descriptions, titles, comments, and categories; engagement and other monitoring

  13 metrics; and data and information concerning any review, moderation, screening, modification,

  14 tracking, complaints, deletion, or revenue generation associated with such content.

  15 REQUEST NO. 49

  16          All documents or communications concerning any internal or external review of
  17 MindGeek content for CSAM, non-consensual, prohibited, or illegal content, including, but not

  18 limited to, the review undertaken beginning in or about the end of 2020 and the beginning of 2021

  19 and the review that led to the report to NCMEC that was described in the June 20, 2022 New

  20 Yorker magazine.

  21 REQUEST NO. 50

  22          All documents or communications related to the purchase, upload, or distribution of
  23 content to any MindGeek platform or MindGeek Tubesite, any MindGeek Related Entity, or any

  24 person or entity working for MindGeek or a MindGeek related entity.

  25 REQUEST NO. 51

  26          All documents or communications reflecting agreements or relationships with any banks,
  27 credit card networks, payment processors, or similar entities concerning the processing of

  28 payments for products, services, advertising, or otherwise through MindGeek’s platforms or

                        PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                      14
Case 2:21-cv-04920-WLH-ADS         Document 274-3          Filed 02/09/23       Page 16 of 16 Page
                                        ID #:6845



   1 websites.

   2 REQUEST NO. 52

   3           All documents concerning communications with the media, news organizations,

   4 journalists, legislators, law enforcement, regulators, quasi-governmental agencies, media relations

   5 companies, the Free Speech Coalition, 5wPR, or on social media platforms either directly, through

   6 aliases, or through agents, surrogates, or other social media participants concerning CSAM, non-

   7 consensual, prohibited, or illegal content on MindGeek’s platforms or websites or internal or

   8 external news, media or other reports, allegations, or complaints regarding the same.

   9 REQUEST NO. 53

  10           All documents sufficient to show all copyright DCMA take down notices MindGeek has
  11 issued.

  12 REQUEST NO. 54

  13           All documents reflecting DCMA take down notices MindGeek has received and the
  14 responses it made to each.

  15

  16 DATED: September 20, 2022                  BROWN RUDNICK LLP
  17

  18

  19                                            By:
                                                      Michael J. Bowe
  20                                                  Lauren Tabaksblat
                                                      Attorneys for Plaintiff
  21
                                                      SERENA FLEITES
  22

  23

  24

  25

  26

  27

  28

                         PLAINTIFF’S FIRST RFPS TO DEFENDANT FERAS ANTOON
                                                      15
